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                               UN ITED STA TES DISTRICT COURT
                               SO UTH ERN DISTRICT O F FLO RIDA

                             CASE NO :16-cv-81798-M lDDLEBROO KS

  TTT FOODS HOLDIN G COM PAN Y LLC,

         Plaintiff,



  BEATRIC NA M M JONATHAN N AM M and
  DELUXEGOURVETSPECIALTIES,LJC,
         Defendants.


            O RDER DENYIN G DEFENDANTS'M OTIO N FO R PRO TECTIVE O RDER

         THIS CAUSE comes before the Courtupon DefendantsBeatrice and Jonathan Namm's (the
  isNamms'')M otionforProtectiveOrdcr(isM otion''),filedonDecember21,2016.(DE 30).PlaintiffTTT
  Foods Holding Company LLC ('splaintiff')filed its response on January 4,2017 (DE 37),to which
  Defendantsreplied onJanuary 13,2017(DE 43). On December 16,2016,Plaintiff issued a subpoena to
  Bank ofAmerica,N.A.(ilsnbpoena''). Requestnumbers one and two seek copiesofa1lstatements,
  deposittickets,wire instructions,withdraw alslips,and documentsrelated to opening new accountsforall

  accounts in the naml of Beatrice Namm,Jonathan Namm,or Deluxe Gourmet Specialties,LLC
  ($ûDe1uxe'')from M arch l,2015to thepresent. TheNammsmoveto quash theserequestsasto Beatrice
  and Jonathan Namm, arguing that their bank records are irrelevant and protected by Fla. Stat, j
  655.059(2)(b) and Florida's Constitutionalrightto privacy. For reasons stated below ,the Nam ms'
  M otion isdenied.

         Rule 26(b)defines the scope ofdiscovery as idany nonprivileged matterthatisrelevantto any
  party'sclaim ordefenseand proportionaltotheneedsofthecase.,..''Fed.R.Civ,P.26(b)(l).Plaintiff
  hasalleged thatBeatriceNamm,asthe solememberand managerofBrooklyn'sBestLLC (iûBrooklyn's
  Best''),caused Brooklyn'sBest,acompany thatallegedly owesmorethan $176,001.76 to Plaintiff,and
  Deluxe,an alterego and successorofBrooklyn'sBest,to fraudulently transfermore than$99,000 to or
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  forthe benefitofBeatriceNam m and Jonathan Namm forinsufficientconsideration.Plaintiffalso alleges

  that Beatrice N amm breached her fiduciary duties by transferring funds ow ed to Brooklyn's Best's

  creditors forherpersonalbenefit. Finally,PlaintiffallegesthatBeatriceN amm should be held liable for

  Brooklyn's Best's indebtedness to Plaintiff under a theory of alter ego because she treated Brooklyn's

  Best'sassetsasherown personalassets. In theirdefense,theN amm sassertthatthetransferswerem ade

  in the ordinary course of business,in a good faith effortto rehabilitate Brooklyn's Best,and that the

  Nam ms are entitled to an offsetbased on the value they gave to Brooklyn's Best in exchange for the

  transfers, In supportofitsclaim s,Plaintiffoffersthe bank recordsofBrooklyn's Best,showing multiple

  transfersto accounts in the nam e ofBeatrice and Jonathan Nam m afterBrooklyn's Bestbecame indebted

  to Plaintiff,(DE 37,ExhibitsA andB).
          Beatrice and Jonathan Namm'sbank recordsare relevantto Plaintiff'sclaimsof(1)fraudulent
  transfer,(2)breach offiduciary duty,and (3)alterego liability,andto theNamms'affirmative defenses.
  Forexample,theN amm s'bank accountactivity isrelevantto show whetherBeatrice Nam m improperly

  transferred funds for her personalbenefitthat should have been used to pay Brooklyn Best's creditors,

  See Wiand v.Lee,753 F,3d 1194,1199-1200 (1lth Cir.20l4) (To prove a fraudulenttransfer,the
  Receivermustdemonstratethatû1(1)there wasa creditorto bedefrauded'
                                                                   ,(2)a debtorintending fraud;
  and(3)aconveyanceofpropertywhichcould havebeenapplicableto thepaymentofthedebtdue.'');see
  also Diamond 1nt1 Corp.v.SJH Enterprises,Inc.,487 So.2d 1089,1091 (Fla.5th DCA 1986)((1To
  perm itdirectorsto usetheirfiduciary position and inside know ledgc to obtain preferentialtreatmentatthe

  expense ofthird party creditors is manifestly unfair.''). In addition,the bank activity may show that
   Beatrice N amm failed to m aintain corporate independence,including by failing to keep funds separate.

  See,e.g.,Sec.tQExch.Comm '
                           n v.Torchia,No.1:15-CV-3904-W SD,2016 W L 6212002,at*3 @ .D,Ga.
  Oct.25,2016)(holding commingling offundsand treatmentby an individualofcorporateassetsashis
   own are relevantfactors fordeterm ining whetherto pierce the com orate veilbased on the theory ofalter
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  ego). Accordingly,the Courtfindsthatthe subpoenaed recordsare relevantto the Parties'claimsand
  defenses.

          Defendants argue thatFla.Stat.j 655.059(2)(b)and Florida'sConstitutionalrightto privacy
  precludethedisclosure oftheirconfidentialfinancialdocuments. W hile j655.059(2)(b)doesrequirea
  financial institution to keep contsdential books and records of deposit accounts Ssexcept upon express

  authorization ofthe accountholder,''itcarvesoutan exception fordisclosuresperm itted under 15 U.S.C.

  j6802,whichincludesthedisclosureofinformation tocomply withaproperlyauthorizedcivilsubpoena.
  See Fla.Stat.j655.059(2)(b). Defendantsdo notarguethattheSubpoenawasnotproperly authorized,
  and accordingly j655.059(2)(b)doesnotpreventdisclosureoftheNamms'financialdocumentspursuant
  to the issued subpoena.
          ûdArticle 1,section 23,ofthe Florida Constitution protects the financialinfonnation ofpersons if

  there is no relevantorcom pelling reason to compeldisclosure.'' Rowe v.Rodriguez-schmidt,89 So.3d

         1103 (Fla.2d DCA 2012)(citing Borck v.Borck,906 So.2d 1209,1211 (F1a.4th DCA 2005)).
  dtBut,dwllerematerialssoughtbyapartywouldappearto berelevanttothesubjectmatterofthepending
  action,the information is fully discoverable.''' Elsner v.E-commerce Ctl
                                                                         -/
                                                                          /c
                                                                           'eClub,l26 So.3d 1261,
   1263 (Fla.4th DCA 2013)(citing Bd of Trs.of thelnternallmprovementTrustFund v.Am.Educ.
  Enters.,LLC,99So.3d 450,458 (Fla.2012)).The party seeking discovery mustprovide aûsreasonable
  evidentiary basis''for the relevancy of the Gnancialdiscovery. Rowe,89 So.3d at 1103;Elsner v.E-

              -/
   Commerce Ct?/?eClubs126So.3d1261,1264(Fla.4thDCA 2013),AlthoughsomeFloridacourtshave
   suggested that an evidentiary hearing is always required to determ ine the relevance of financial

   infbrmation,later cases have distinguished those opinions as cases in which there was no evidence to

   supporttherelcvanceofthediscovery sought.1 Compare,9ry,985So.2d atll88-89(((Therelevanceof
                                                              .



   financialinformation shouldbedeterminedonly aheranevidentiary hearing.....'')and Rowe,89 So.3d
   atl103-04(same)withElsner,l26 So.3dat1263(iideclinling)toadoptaperserulerequiringatrial

   1In addition, Defendantsdo notrequestan evidentiary hearing.
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  courtalways to conduct an evidentiary hearing before ordering financial discovery from a party''and

  distinguishingSpry and Rowe ascasesin which there wasa lack ofany evidence supporting relevance)
  and Rosen v.M ccobbsl92 So.3d 576,578-79 (Fla.4th DCA 2016)(citing Elsner forproposition that
  evidentiary hearing is only required where there was no evidence to support the relevance of the

  discovery sought). Otherfactorsto considerin determining whetheran evidential.
                                                                               y hearing isrequired
  include whetherthc information soughtbelongsto a party ornon-party,and w hetherthc pleadings make

  clcarthatthe information is relevant. Inglis p,Casselberry 200 So.3d 206,211(Fla.2d DCA 20l6),

  reh'
     g denied(Sept.2,2016).
           Here, the financial records sought belong to Parties, Beatrice and Jonathan N amm , and, as

  discussed above,the pleadings make clearthe information isrelevant. Thus,as long as Plaintiffprovides

  a reasonable evidentiary basis for the relevancy of the N amm s' snancial docum ents,no evidentiary

   hearing isrequired. Here,Plaintiffhasprovided evidence in theform ofbank recordsofBrooklyn'sBest,

   showing m ultipletransfersto accountsin thename ofBeatricc and Jonathan Nam m afterBrooklyn'sBest

   became indebted to Plaintiff. (DE 37,ExhibitsA and B). Becausethe Courtfindsthattheinformation
   soughtisrelevant,Florida'sConstitutionalrightto privacy doesnotpreclude its discovery. Accordingly,

   itishereby
           ORDERED AND ADJUDGED that the Namms' M otion (DE                                            DENIED. Bank of
   Am erica,N .A,m ust produce a11documents responsive to the Subpoena,requestnum bers one and two,

   within 7 days of entry of this O rder,in orderfor Plaintiffto have access to documents necessary to

   prepare itsexpertreport.
           DONEAND ORDERED inChambersatWestPalm Beach lorida
                                                           pthisZX dayofJanuary,      .z               '                           ...* z
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                                                         D      D M . l DLEBROOKS
                                                         UN ITED STATES DISTRICT JUDGE
   Copiesto:       CounselofRecord

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